                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

UNITED STATES OF AMERICA,

                                                       No. CR12-3049-MWB
             Plaintiff,
vs.
                                              ORDER REGARDING DEFENDANT’S
TROY EUGENE FULKERSON,                          REPLY BRIEF CONCERNING
                                                  DOWNWARD VARIANCE
             Defendant.
                            ___________________________

      This case is before me on defendant Troy Eugene Fulkerson’s reply brief filed on
June 10, 2013. In his reply brief, Fulkerson attempts to raise a policy disagreement with
the methamphetamine guidelines as an additional ground for a downward variance for the
first time. Fulkerson filed his Motion for Downward Variance on June 4, 2013. He did
not raise a policy disagreement with the methamphetamine guidelines as a ground in his
motion. The prosecution filed its resistance to Fulkerson’s motion on June 7, 2013.
Fulkerson’s sentencing is currently scheduled to be held tomorrow, June 11, 2013.
      Local Criminal Rule 32 requires that:
             Any motion, sentencing memorandum, or brief relating to a
             sentencing issue, including any motion or brief filed under
             section “a” of this rule, must be filed, and a copy delivered to
             the assigned United States Probation Officer, at least 7 days
             before the sentencing hearing.
L. CR. R. 32(a)(2). Fulkerson complied with this rule when he filed his Motion for
Downward Variance. Fulkerson, however, did not raise a policy disagreement with the
methamphetamine guidelines as one of the grounds for a downward variance in his
motion, and the prosecution never discussed the issue in its resistance. Accordingly,




      Case 3:12-cr-03049-LTS-KEM       Document 76      Filed 06/10/13    Page 1 of 2
Fulkerson’s reply brief does not respond to any argument raised by the prosecution and
is not a proper reply brief under Local Rule 7(g). Moreover, my decision in United
States v. Hayes, CR12-4040-MWB, is not “newly-decided authority” which would
permit Fulkerson, pursuant to Local Rule 7(g), to file a reply brief. While my decision
in Hayes was entered only last week, the issue it raised, a policy disagreement with the
methamphetamine guidelines as a basis for a downward variance, should have been
obvious since Kimbrough v. United States, 552 U.S. 85 (2007).           Judge Bataillon
repeatedly raised this issue in a number of his decisions, see, e.g., United States v.
Woody, 2010 WL 2884918, *10 (D. Neb. July 20, 2010); United States v. Ortega, 2010
WL 1994870 (D. Neb. May 17, 2010); United States v. Ninchelser, 2009 WL 872441
(D. Neb. Mar. 30, 2009); United States v. Hubel, 625 F. Supp. 2d 845, 853 (2008);
United States v. Goodman, 556 F. Supp. 2d 1002, 1016 (D. Neb. 2008); United States
v. Castellanos, 2008 WL 5423858 (D. Neb. December 29, 2008); United State v.
Rocha, 2008 WL 2949242 (D. Neb. July 30, 2008), and his criticisms of the drug
guidelines as a grounds for a downward variance were amplified most recently by Judge
Gleeson’s decision in United States v. Diaz, No. 11-CR-00821-2 JG, 2013 WL 1345513,
at *1 (E.D.N.Y. Jan. 28, 2013). Thus, I conclude that Fulkerson’s attempt to raise, in
his reply brief, a policy disagreement with the methamphetamine guidelines as an
additional ground for a downward variance is untimely and will not be considered at
sentencing.
      IT IS SO ORDERED.
      DATED this 10th day of May, 2013.



                                        ______________________________________
                                        MARK W. BENNETT
                                        U.S. DISTRICT COURT JUDGE
                                        NORTHERN DISTRICT OF IOWA

                                           2

     Case 3:12-cr-03049-LTS-KEM       Document 76      Filed 06/10/13   Page 2 of 2
